
710 S.E.2d 32 (2011)
Lamez WILLIAMS
v.
AMERICAN EAGLE AIRLINES, INC.
No. 21P11.
Supreme Court of North Carolina.
June 15, 2011.
Bartina Edwards, Charlotte, for Williams, Lamez.
Philip Strach, for American Eagle Airlines, Inc.
Thomas A. Farr, Raleigh, for American Eagle Airlines, Inc.

ORDER
Upon consideration of the petition filed on the 14th of January 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
